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MIED (01/2020) Order Staying Case



                                         UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF MICHIGAN

PAUL HARRIS,

                          Plaintiff(s)                              Civil Action No. 20-10065

v.                                                                  Judge Terrence G. Berg
MARY GRENIER,

                          Defendant(s)
                                                           /


                                                ORDER STAYING CASE

        Plaintiff, a prisoner in the custody of the Michigan Department of Corrections, filed a civil rights complaint

pursuant to 42 U.S.C. § 1983. The complaint survived screening under 28 U.S.C. § 1915A and 42 U.S.C.

§ 1997e(c), therefore,

        IT IS ORDERED that:

        1.       Pursuant to Administrative Order 18-AO-042 this action will participate in the Pro Se Prisoner Early

Mediation Program.

        2.       This action is stayed for a period of ninety (90) days to allow plaintiff and defendant(s) an

opportunity to participate in mediation to settle their dispute before the defendant(s) are formally served, an answer

is filed, or the discovery process begins. This process is governed by the Mediation Procedure (Attachment A).

        3.       No other pleadings or papers may be filed, and the parties may not engage in formal discovery

during the ninety-day stay.

        4.       The 90-day period for the defendant(s) to be served under Federal Rule of Civil Procedure

(“F.R.Civ.P”) 4(m) is tolled.

        5.        If no settlement is reached and this case proceeds in the normal course of litigation, the Mediation

Referral Judge has the authority to lift this stay and the 90-day time period for service under F.R.Civ.P. 4(m) will

begin to run on the date the stay order is lifted.
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        6.       Subsequent to the entry of orders regarding service of process, the Mediation Referral Judge will

return the case to the docket of the district judge.

        7.       Plaintiff is directed to show this Order to his or her Assistant Resident Unit Supervisor

(“ARUS”) upon receipt to schedule a date and time to see the Pro Se Prisoner Early Mediation Program’s

educational video that explains the program.



                                                          s/Terrence G. Berg
                                                          Terrence G. Berg
                                                          United States District Judge


Date: April 15, 2022




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MIED (rev 02/2021) Attachment A – Mediation Procedure



                                                  Attachment A
                                               Mediation Procedure

EXCLUSION

    1. Any party who seeks to have this case excluded from the prisoner mediation program, must file a “motion

         to exclude case from mediation” on or before twenty-one (21) days after the date of this order. The

         responding party has seven (7) days to file a response. No reply may be filed. Thereafter, the Mediation

         Referral Judge will decide the matter and issue an order.

MEDICAL RECORDS PRODUCTION

     If medical claims are made in the complaint, the Michigan Department of Corrections (“MDOC”) is required

         to give plaintiff a medical records release form to sign within seven (7) days after the expiration of the

         exclusion period. Plaintiff is required to sign and return the medical records release form within seven (7)

         days from the date the form is received.

     Upon receipt of the medical records release form, the MDOC is required to produce all medical records

         relevant to the raised medical claims that span the dates of the allegations in the complaint, only to the

         attorney representing Defendant Corizon and the Plaintiff within 14 days of the date on the medical release

         form. The mediator must be provided a copy of the relevant medical records by electronic means.

SERVICE

    1. The Court will serve a copy of the stay order by U.S. mail on plaintiff and will informally serve (by electronic

         means) a copy of the order and a copy of plaintiff’s complaint on (1) the Michigan Department of Attorney

         General, care of: [insert name(s) and email address(es) of relevant individual(s)]; (2) [insert information for

         third-party contractor defendants (e.g., employees of Corizon, Trinity Services Group, etc.)] care of: [insert

         name(s) and email address(es) of relevant individual(s)].


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2. For defendants who are current or former state employees (as opposed to employees of a third-party

    contractor such as Corizon or Trinity Services Group), the Department of Attorney General will enter a

    limited appearance for the sole purpose of early mediation. For defendants who are employees of a third-

    party contractor, counsel for defendant’s employer will appear on their behalf solely for early mediation. To

    accomplish informal service for the early mediation program, the Court maintains contact information for the

    individuals in the paragraph above, who will accept informal service. If early mediation is unsuccessful,

    defendants will be served (by waiver of service of summons or formal process), and counsel must appear

    as usual in an ordinary case.

3. The Michigan Department of Attorney General, and counsel for other defendants, must enter their limited

    notice of appearance for purpose of early mediation within twenty-one (21) days from the date this order is

    entered in the ECF system. No defenses or objections, including lack of service, are waived as a result of

    filing the limited notice of appearance.




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